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                    UNITED STATES COURT OF APPEALS                         FILED
                           FOR THE NINTH CIRCUIT                           APR 18 2025
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
COMMUNITY LEGAL SERVICES IN                     No. 25-2358
EAST PALO ALTO; et al.,
                                                D.C. No.
                                                3:25-cv-02847-AMO
             Plaintiffs - Appellees,            Northern District of California,
                                                San Francisco
 v.
                                                ORDER
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; et
al.,

             Defendants - Appellants.

Before: TASHIMA, OWENS, and DESAI, Circuit Judges.

      We conclude that the temporary restraining order is not appealable under 28

U.S.C. § 1292(a)(1). See E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 762

(9th Cir. 2018) (explaining factors the court considers in determining whether a

temporary restraining order is appealable as a preliminary injunction); see also

Washington v. Trump, 847 F.3d 1151, 1158 (9th Cir. 2017) (per curiam). We

therefore dismiss this appeal and deny the emergency motion (Docket Entry No. 5)

as moot.

      DISMISSED.
